Case 8:24-cr-00020-MSS-CPT        Document 61      Filed 07/11/24    Page 1 of 5 PageID 653




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

 UNITED STATES OF AMERICA

 v.                                           CASE NO. 8:24-cr-20-MSS-CPT

 HEIDI RICHARDS
 a/k/a Heidi Hastings
 a/k/a Heidi Shaffer
 a/k/a Heidi Williams

                               JOINT STATUS REPORT

        The United States of America, by Roger B. Handberg, United States Attorney

 for the Middle District of Florida, files with this Court, pursuant to Fed. R. Crim. P.

 17.1, the following status report. In response to the inquiries in the Court’s order of

 January 18, 2024, the United States herein states as follows:

        1.     Brief summary of the case’s status:

        On January 9, 2024, a grand jury returned an indictment charging Heidi

 Richards with one count of conspiracy, in violation of 18 U.S.C. § 371; one count of

 trafficking in illicit labels, in violation of 18 U.S.C. § 2318; two counts of trafficking

 in unauthorized access devices, in violation of 18 U.S.C. § 1029(a)(2); and one count

 of possession of unauthorized access devices, in violation of 18 U.S.C. § 1029(a)(3).

 The defendant was arrested on Sunday, January 14, 2024, and made her initial

 appearance before the United States Magistrate Judge Natalie Hirt Adams on

 Tuesday, January 16, 2024. The defendant was released on conditions.

        On March 8, 2024, the defendant retained new counsel, who have entered
Case 8:24-cr-00020-MSS-CPT       Document 61      Filed 07/11/24   Page 2 of 5 PageID 654




 appearances in this case.

         On June 4, 2024, a grand jury returned a superseding indictment charging the

 defendant with promotional money laundering, in violation of 18 U.S.C. §

 1956(a)(1)(A)(i) (Count Six).

         The matter is set for trial beginning November 4, 2024, through November 8,

 2024.

         2.    Possibility of a plea agreement:

         On May 13, 2024, the defendant rejected the government’s final plea offer.

 There is no prospect of the case resolving before trial.

         3.    Expected length of government’s case-in-chief:

         The government expects its case-in-chief to last approximately three to four

 days. The defense expects its case, if any, to last two days.

         4.    Pending motions, dates on which they were filed, and whether they
               are ripe for determination:

         On July 10, 2024, the defendant filed a motion to dismiss the superseding

 indictment, Doc. 58, and a motion for in camera review of the grand jury transcript,

 Doc. 60. The government will be filing responses on or before July 24, 2024.

         The defendant also filed an unopposed motion for subpoena duces tecum

 under Rule 17(c) on July 10, 2024. Doc. 59. That motion is ripe for determination.

         5.    Potential speedy trial and scheduling problems:

         The defendant made her initial appearance on January 16, 2024. Based on the

                                             2
Case 8:24-cr-00020-MSS-CPT     Document 61     Filed 07/11/24   Page 3 of 5 PageID 655




 United States’ calculation, trial must commence by on or about Tuesday, March 26,

 2024. On February 16, 2024, however, the Court granted the defendant’s unopposed

 motion to continue trial to the May 2024 calendar and excluded the time between

 February 16, 2024, and May 31, 2024. Doc. 20. The Court subsequently granted the

 defendant’s second, unopposed motion to continue trial to the July 2024 calendar

 and excluded the time between May 31, 2024, and July 31, 2024. Doc. 27. The Court

 then granted the defendant’s third, unopposed motion to continue trial to the August

 2024 calendar and excluded the time between July 31, 2024, and August 31, 2024.

 Doc. 41.

       On June 20, 2024, the Court granted the defendant’s unopposed motion to

 continue trial and for a date certain, and set trial to commence on November 4, 2024.

 Doc. 52. Because the Court excluded the time through November 30, 2024, there are

 no speedy trial problems.




                                          3
Case 8:24-cr-00020-MSS-CPT     Document 61      Filed 07/11/24     Page 4 of 5 PageID 656




       The United States has consulted with counsel for the defendant and all parties

 agree to the above information.

                                         Respectfully submitted,

                                         ROGER HANDBERG
                                         United States Attorney

                                   By:   /s/ Risha Asokan
                                         Risha Asokan
                                         Assistant United States Attorney
                                         Florida Bar No. 1003398
                                         400 N. Tampa St., Ste. 3200
                                         Tampa, FL 33602-4798
                                         Telephone: (813) 274-6000
                                         Facsimile: (813) 274-6358
                                         E-mail: risha.asokan2@usdoj.gov




                                           4
Case 8:24-cr-00020-MSS-CPT        Document 61     Filed 07/11/24    Page 5 of 5 PageID 657




 U.S. v. Heidi Richards                                  Case No. 8:24-cr-20-MSS-CPT

                             CERTIFICATE OF SERVICE

        I hereby certify that on July 11, 2024, I electronically filed the foregoing with

 the Clerk of the Court by using the CM/ECF system, which will send a notice of

 electronic filing to the following:

        Kevin Darken, Esq.
        Todd Foster, Esq.


                                          /s/ Risha Asokan
                                          Risha Asokan
                                          Assistant United States Attorney
                                          Florida Bar No. 1003398
                                          400 N. Tampa St., Ste. 3200
                                          Tampa, FL 33602-4798
                                          Telephone: (813) 274-6000
                                          Facsimile: (813) 274-6358
                                          E-mail: risha.asokan2@usdoj.gov




                                             5
